        Case 2:17-cv-01599-NBF Document 144 Filed 11/24/21 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT FOR
                    THE WESTERN DISTRICT OF PENNSYLVANIA

CALISIA KELLEY and JOHNNIE MAE                      )
KELLEY, Co-Administrators of the                    )
ESTATE OF BRUCE KELLEY JR.,                         )      Civil Action No. 2:17-cv-1599 NBF
deceased,                                           )
                                                    )
                      Plaintiffs,                   )
                                                    )
                                                    )
                                                    )      JURY TRIAL DEMANDED
       vs.                                          )
                                                    )
BRIAN O’MALLEY, both                                )
in his Official and Individual Capacities           )
as Sergeant for the Allegheny County Port           )
Authority and DOMINIC RIVOTTI, in both his          )
Official and Individual Capacities as Officer for   )
the Allegheny County Port Authority ,               )
                                                    )
                                                    )
       Defendants, Jointly and Severally.           )



                                            ORDER

       AND NOW, this ____day
                     24th    of November, 2021, it is hereby ORDERED that the

Plaintiffs’ request for an extension to file a final Brief opposing Defendants’ Summary Judgment

Motion is GRANTED, and that the new deadline to file same shall be on or before December 3,

2021. The Defendants shall now have until December 20, 2021 to file any response thereto.




                                                             ________________________,
                                                             s/Nora Barry Fischer            J.
                                                             Honorable Nora Barry Fischer
                                                             Senior United States District Judge
